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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                 Plaintiff,          )
                                     )                 4:04CR3117
           V.                        )
                                     )
BRIAN L. ADAMS, and                  )
TAMMY ADAMS,                         )                    ORDER
                                     )
                 Defendants.         )
                                     )
                                     )


     The defendants, Brian Adams and Tammy Adams, have entered
guilty pleas.    Accordingly, their motions for bill of
particulars, filings 62 and 64, are denied as moot.


     DATED this 17th day of May, 2005.


                                   BY THE COURT:


                                   S/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
